       Case 1:25-cv-01096-ACR           Document 10      Filed 04/16/25     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AKSHAR PATEL,

              Plaintiff,

       v.
                                                        Civil Action No. 25-1096 (ACR)
TODD M. LYONS,
Acting Director, U.S. Immigration and
Customs Enforcement,

              Defendant.


                                      STATUS REPORT

       Defendant, by and through the undersigned counsel, respectfully file this status report

pursuant to the Court’s April 15, 2025 minute order, directing “the Government to file a status

report, by 10:00 AM EST on Wednesday, April 16, addressing how an arrest for a charge that was

subsequently dismissed constitutes a legal basis for terminating Plaintiff's SEVIS record and F-1

status. The Government must provide statutory language and/or relevant case law supporting its

position.” Min. Order.

       (1)    Congress provided broad statutory authority under 8 U.S.C. § 1372 for the

       Government “to develop and conduct a program to collect” information regarding

       nonimmigrant students and exchange visitors and to “establish an electronic means to

       monitor and verify” certain related information.        This is the statutory authority

       underpinning SEVIS. Inherent in that authority is SEVP’s ability to update and maintain

       the information in SEVIS and, as such, to terminate SEVIS records, as needed, to carry out

       the purposes of the program.
       Case 1:25-cv-01096-ACR         Document 10        Filed 04/16/25     Page 2 of 2




       (2)    The Department of Homeland Security has not terminated Plaintiff’s F-1 status.

       Terminating a record in SEVIS does not terminate an individual’s nonimmigrant status in

       the United States. The statute and regulations do not provide SEVP the authority to

       terminate nonimmigrant status by terminating a SEVIS record, and SEVP has never

       claimed that it had terminated PATEL’s nonimmigrant status. Furthermore, the authority

       to issue or revoke visas for nonimmigrant students like PATEL lies with the Department

       of State, not SEVP. Terminating a record within SEVIS does not effectuate a visa

       revocation.

Dated: April 16, 2025                             Respectfully Submitted,

                                                  EDWARD R. MARTIN, JR.,
                                                  D.C. Bar #481866
                                                  United States Attorney

                                                  BRIAN P. HUDAK
                                                  Civil Chief

                                                  /s/ Joseph F. Carilli, Jr.
                                                  JOSEPH F. CARILLI, JR.
                                                  N.H. Bar No. 15311
                                                  Assistant United States Attorney
                                                  Civil Division
                                                  U.S. Attorney’s Office
                                                    for the District of Columbia
                                                  601 D St. N.W.
                                                  Washington, D.C. 20350
                                                  Telephone: (202) 252-2525
                                                  E-mail: joseph.carilli@usdoj.gov

                                                  Attorney for United States of America




                                              2
